           Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 1 of 21



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


OPTUM, INC. and
OPTUM SERVICES, INC.,

                          Plaintiffs,
                                                            Civil Action No.: 19-cv-10101
             v.

DAVID WILLIAM SMITH,

                          Defendant.


         OPTUM, INC. AND OPTUM SERVICES, INC.’S MEMORANDUM
    IN SUPPORT OF THEIR MOTION FOR AN INJUNCTION PENDING APPEAL
      AND/OR AN INDICATIVE RULING ON THE PENDING MOTION FOR A
                   TEMPORARY RESTRAINING ORDER

                     INTRODUCTION AND SUMMARY OF ARGUMENT

          Plaintiffs Optum, Inc. and Optum Services, Inc. (together, “Plaintiffs” or “Optum”)

respectfully move this Court for an injunction pending appeal, under Federal Rule of Civil

Procedure 62(d), enjoining Defendant David William Smith from engaging in certain activities,

as outlined in Optum’s proposed injunction (attached to Plaintiffs’ Motion for an Injunction

Pending Appeal and/or an Indicative Ruling on the Pending Motion for a Temporary Restraining

Order (the “Motion”) as Exhibit 1). This Court’s jurisdiction to grant the request – despite its

February 5, 2019 Orders – is beyond dispute. Indeed, a request for this type of relief must be

presented to this Court for decision in the first instance. See Fed. R. App. P. 8(a).

          In addition (or in the alternative), Optum moves this Court for an indicative ruling under

Federal Rule of Civil Procedure 62.1(a). See also Fed. R. App. P. 12.1(a). Issuing such a ruling

would permit the court of appeals to remand the matter for the limited purpose of ruling on the

pending motion for a temporary restraining order without losing jurisdiction over the pending

appeal.
         Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 2 of 21



        1.      As this Court knows, Optum sued Smith for breach of contract and

misappropriation of trade secrets, alleging that Smith intends to deliver those secrets to one of

Optum’s competitors. Optum agrees that its substantive claims are arbitrable under Smith’s

employment contract. But Optum seeks to preserve the status quo pending arbitration by seeking

a temporary restraining order (TRO) against Smith’s allegedly unlawful conduct until such time

as an arbitration forum can be convened and can itself rule on Optum’s claims and request for

injunctive relief.

        Smith makes two threshold arguments in response. First, he asserts that the arbitration

agreement requires the arbitrator – not this Court – to decide whether this Court has the power to

enter a TRO. Dkt. # 17. Second, he asserts that the arbitration agreement does not permit this

Court to enter a TRO. Id. This Court rejected both arguments. Dkt. # 48. It found that the

parties’ contract unambiguously gives the Court the power to decide its own authority to enter a

TRO. The Court therefore denied Smith’s motion to compel arbitration to that limited extent.

The Court separately held that it has the power to enter a TRO, and indeed held an extensive

evidentiary hearing on whether to do so.

        During the evidentiary hearing, but before this Court ruled on the TRO request, Smith

appealed from the denial of his motion to compel arbitration in part. Dkt. # 43. Recognizing a

division of authority on the question, this Court anticipated that the First Circuit would hold that

Smith’s notice of appeal placed the entire case within the jurisdiction of the court of appeals –

and therefore outside the jurisdiction of this Court. On that basis, this Court held that, as a

matter of law, it had no choice but to stay the proceedings unconditionally, including with

respect to Optum’s pending request for a TRO. Dkt. # 49.

        Accordingly, as things stand now, Optum cannot obtain temporary relief preventing

irreparable harm until either the court of appeals dissolves the stay or an arbitrator can consider


                                                  2
         Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 3 of 21



Optum’s claims, neither of which will happen nearly as quickly as the Court’s decision to grant

this Motion could. Indeed, given Smith’s decision to raise the stay question for the first time

during the TRO hearing itself, Optum respectfully requests in the accompanying motion to

expedite that the Court order Smith to file any response to this Motion within 24 hours.

        To be sure, as the Court suggested, Optum also intends to request that the First Circuit

promptly hold that this Court has jurisdiction to consider Optum’s request for a TRO. Today,

Optum separately files this Motion before this Court both to accelerate potential relief and, in

part, because Optum anticipates that the Court of Appeals will expect it to pursue additional

relief in this Court in the first instance. See Fed. R. App. 8(a)): an injunction pending appeal

and a motion for an indicative ruling. These are distinct applications from Optum’s request for a

TRO.

        2.      In every case in which an appeal is pending – including after final judgment – a

party may seek an injunction or stay pending appeal. Such a request calls on the district court to

consider the appellant’s likelihood of success on appeal, in addition to whether the party seeking

the injunction faces irreparable injury. This is a distinct legal standard from the standard

governing the request for a TRO – although there is some overlap given that both seek interim

equitable relief.

        This Court should grant Optum’s Motion for an injunction pending appeal. Preliminarily,

it is procedurally proper. Indeed, Plaintiffs’ Motion is procedurally required by Federal Rule of

Appellate Procedure 8. A rule that would preclude this Court from granting Optum an injunction

to preserve the status quo would be an invitation to losing parties to manipulate this Court’s

jurisdiction and strip winning parties of their ability to seek interim relief at all.

        Moreover, nothing about this Motion contravenes the court of appeals’ jurisdiction over

Smith’s appeal of this Court’s order denying the motion to compel arbitration. Nor is this


                                                    3
         Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 4 of 21



motion contrary to case law holding that a district court should stay proceedings while a case is

on appeal. That is because none of the cases this Court relied on in holding that it could not

impose conditions on the stay involved a request for an injunction to preserve the status quo.

Rather, they involved circumstances in which district courts otherwise would have proceeded to

decide the merits of the parties’ dispute.

       3.      The injunction in this case also clearly meets the test for interim relief. As this

Court already concluded in its February 5, 2019, Stay Order (Dkt. # 49), Optum is likely to

prevail on the merits of its appeal because the contract between Optum and Smith clearly

provides that a court will decide whether to award emergency or interim relief before the matter

is submitted to arbitration. In addition, under controlling First Circuit law, the Court also has

equitable power to grant interim relief before referring a case to arbitration. The risk of

irreparable harm is also high: if Smith continues his employment and shares the information he

misappropriated from Optum, then Optum’s valuable trade secrets will be forever compromised.

In addition, the passage of time renders the value of Smith’s noncompete agreement a nullity to

Optum.

       Granting injunctive relief is also the most efficient way to preserve the status quo pending

appeal. Interim relief in this Court would conserve party and judicial resources both here and in

the court of appeals. This Court is well positioned to decide this Motion, having already (a)

considered the substance of the legal issue raised by the appeal, and (b) held an evidentiary

hearing on Optum’s entitlement to interim relief. The alternative would be for Optum to file a

cross-appeal from the stay order, a motion to expedite that appeal, a motion for interim relief in

the First Circuit, and then briefs regarding all of the pertinent procedural and substantive

contentions. The court of appeals would then have to familiarize itself with those papers and

make a decision. Those steps would take time and consume unnecessary resources and attention.


                                                  4
         Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 5 of 21



       An injunction pending appeal also will not result in any undue prejudice to any party. It

will merely preserve the status quo while the First Circuit adjudicates threshold questions. Smith

himself has the ability to limit the effect of an injunction pending appeal by moving to expedite

the appellate proceedings and/or appealing the injunction itself.

       By contrast, Smith’s view that this Court remains powerless to grant any relief invites

parties to draw out appellate proceedings in order to evade the district court’s authority to assert

its jurisdiction to consider a request for a TRO. Smith has professed a desire for the arbitrator to

decide all issues in the case, including whether preliminary injunctive relief is warranted – but

his litigating posture is preventing that from happening. While the appeal is pending, the case

cannot even be referred to an arbitrator unless or until the stay is lifted. And this Court’s

perceived inability to act on the request for temporary injunctive relief prevents it from

preserving the status quo pending arbitration so that the arbitrator can provide meaningful relief

if it finds in favor of Optum. As things now stand, neither this Court nor an arbitrator can

consider either the merits of Optum’s claim or Optum’s request for temporary relief. It is no

wonder that Smith benefits from that posture – he is the defendant, after all. But that sort of

jurisdictional manipulation is not contemplated by the Federal Rules and need not be tolerated

under this Court’s inherent authority.

       4.      In addition (or in the alternative), the Federal Rules provide a mechanism for the

court of appeals to order a limited restoration of a district court’s jurisdiction to decide a pending

motion when the district court would otherwise lack jurisdiction to decide the motion. Federal

Rule of Civil Procedure 62.1 and Federal Rule of Appellate Procedure 12.1 together provide that,

when a party files a timely motion for relief that a district court lacks jurisdiction to grant

because an appeal is pending, the district court may “state either that it would grant the motion if

the court of appeals remands for that purpose or that the motion raises a substantial issue.” Fed.


                                                   5
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 6 of 21



R. Civ. P. 62.1(a)(3). Such an order is called an indicative ruling. Ibid. Whether or not this

Court grants the Motion for an injunction pending appeal, Optum moves the Court for an

indicative ruling stating either that it would grant Optum’s request for a TRO if it had

jurisdiction to do so or that Optum’s motion for a TRO raises a substantial issue. If the Court

promptly issues such an order, Optum will promptly request that the court of appeals remand the

case for the limited purpose of ruling on the motion for a TRO.

                                           ARGUMENT

I.     THIS COURT PLAINLY HAS THE POWER TO GRANT AN INJUNCTION
       PENDING APPEAL.

       The requested injunction merely seeks to preserve the status quo – i.e., the sanctity of

Optum’s trade secrets – pending the First Circuit’s resolution of Smith’s appeal. That modest

relief is manifestly within the Court’s power to grant, even as the appeal remains pending.

       District courts have the inherent power to “preserv[e] the status quo pending appeal” –

which includes the power to act “[e]ven as to matters encompassed within the scope of the

pending appeal.” The Late Charles Alan Wright, Arthur R. Miller, et al., 16A Fed. Prac. &

Proc. Juris. § 3949.1 (4th ed.) (emphasis added); Newton v. Consol. Gas Co. of New York, 258

U.S. 165, 177 (1922) (“Undoubtedly, after appeal the trial court may, if the purposes of Justice

require, preserve the status quo until decision by the appellate court.”); United States v. Brooks,

145 F.3d 446, 456 (1st Cir. 1998) (holding that a notice of appeal does not deprive the district

court of jurisdiction to enter “orders relating to procedures in aid of the appeal”) (quotation

marks and citations omitted); Kosilek v. Spencer, No. CA 00-12455-MLW, 2012 WL 5240014,

at *1 (D. Mass. Oct. 24, 2012) (recognizing the “inherent power of courts to make whatever

order is deemed necessary to preserve the status quo” pending appeal) (quoting 11 Charles Alan

Wright & Arthur R. Miller, Federal Practice & Procedure § 2904 (2d ed. 2012)).



                                                  6
         Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 7 of 21



        This power to maintain the status quo includes the power to issue injunctions. See, e.g.,

Kidder, Peabody & Co. v. Maxus Energy Corp., 925 F.2d 556, 565 (2d Cir. 1991) (explaining

that “a district court may grant injunctive relief after a proper notice of appeal has been filed . . .

when it is necessary to preserve the status quo pending the appeal”); Sansom Comm. by Cook v.

Lynn, 735 F.2d 1552, 1554 (3d Cir. 1984) (“[I]t is well recognized that a district court possesses

residual jurisdiction to enter orders to assist in maintaining the true status quo pending

disposition of an appeal.”). Indeed, this inherent power is codified in Federal Rule of Appellate

Procedure 8, which provides that parties should ask a district court in the first instance for “an

order . . . granting an injunction while an appeal is pending,” and also in Federal Rule of Civil

Procedure 62(d), which provides that, “[w]hile an appeal is pending from an interlocutory order”

respecting an injunction, “the court may . . . grant an injunction on terms for bond or other terms

that secure the opposing party’s rights.”

        Smith may argue that the Court lacks the power to grant the requested injunction because

it no longer has jurisdiction over this dispute. But that is incorrect. District courts’ power to

preserve the status quo is entirely consistent with the view, advanced in the February 5, 2019

Stay Order, that the filing of a notice of appeal from a denial of a motion to compel arbitration

will typically vest jurisdiction in the court of appeals and stay further district court proceedings.

        The Court’s conclusion that it had no jurisdiction followed from the Supreme Court’s

statement in Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982), that the filing

of a notice of appeal “confers jurisdiction on the court of appeals and divests the district court of

its control over those aspects of the case involved in the appeal.” This statement describes a

judge-made rule – not a legislative command – and as the First Circuit has acknowledged, the

Griggs rule “admits of some exceptions.” Brooks, 145 F.3d at 456. Specifically, the purpose of

the rule is to prevent the trial court and the appellate court from stepping on each other’s toes –


                                                   7
          Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 8 of 21



and so “the trial court may continue to exercise a modicum of power over a case that is before

the appellate court . . . in those few situations in which the risk of an intramural collision is

small.” Ibid. Among other things, the trial court may enter “orders relating to procedures in aid

of the appeal.” Ibid. (quotation marks omitted).

         An injunction to preserve the status quo is precisely such an order. Such an injunction

ensures that the ground beneath the appellate court’s feet remains stable, and that the disputes it

is adjudicating will not become moot or substantially different while the appeal is pending.

Thus, a leading civil procedure treatise explains that “[t]he actions contemplated by” Federal

Rule of Appellate Procedure 8 (governing stays or injunctions pending appeal) are properly

regarded as actions “in aid of the court of appeals’ exercise of its jurisdiction” – and that “[o]ther

actions that a district court may take in aid of the appellate court’s jurisdiction include preserving

the status quo pending appeal.” The Late Charles Alan Wright, Arthur R. Miller, et al., 16A Fed.

Prac. & Proc. Juris. § 3949.1 (4th ed.).

         Crucially, and consistent with these pronouncements, the Fourth, Seventh, and Tenth

Circuits – all of which have held that an appeal from a denial of a motion to compel arbitration

results in automatic stay – all expressly recognize district courts’ inherent power to act to

preserve the status quo while an appeal is pending. See Grand Jury Proceedings Under Seal v.

United States, 947 F.2d 1188, 1190 (4th Cir. 1991); Ced’s Inc. v. E.P.A., 745 F.2d 1092, 1095

(7th Cir. 1984); United States v. Madrid, 633 F.3d 1222, 1227 (10th Cir. 2011).1

         There thus is no conflict between the relief Optum seeks in this Motion and this Court’s


     1
       To the best of Optum’s knowledge, the Eleventh and D.C. Circuits have not reached the opposite
conclusion, and district courts in those circuits have held that a district court retains the power to preserve
the status quo while an appeal is pending. See Washington Metro. Area Transit Comm’n v. Reliable
Limousine Serv., LLC, 985 F. Supp. 2d 23, 29 (D.D.C. 2013) (“[I]t is settled that ‘after appeal the trial
court may, if the purposes of Justice require, preserve the status quo until decision by the appellate
court.’”) (quoting Newton, 258 U.S. at 177); Dillard v. City of Foley, 926 F. Supp. 1053, 1075 (M.D. Ala.
1995) (explaining that Federal Rule of Civil Procedure 62 “allow[s] district courts to retain jurisdiction
over a case to maintain the status quo where equity requires it while the case is on appeal”).

                                                      8
          Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 9 of 21



February 5, 2019 Stay Order. To the contrary, the cases upon which this Court relied stand for

the principle that courts should preserve the status quo pending an appeal from the denial of a

motion to compel arbitration. In almost all of the cited cases, the district court denied a motion

to compel arbitration and then required the parties to proceed with discovery and further

litigation. The courts of appeals reversed and ordered stays, reasoning that requiring the parties

to undergo costly discovery and litigation would irreparably deprive them of the benefit of their

arbitration agreements. See Levin v. Alms & Assocs., Inc., 634 F.3d 260, 265 (4th Cir. 2011)

(explaining that allowing discovery to proceed would “cut against the efficiency and cost-saving

purposes of arbitration” and also “alter the nature of the dispute significantly by requiring parties

to disclose sensitive information”); Bradford-Scott Data Corp. v. Physician Computer Network,

Inc., 128 F.3d 504, 505 (7th Cir. 1997) (holding that “[c]ontinuation of proceedings in the district

court largely defeats the point of the appeal and creates a risk of inconsistent handling of the case

by two tribunals”); McCauley v. Halliburton Energy Servs., Inc., 413 F.3d 1158, 1162 (10th Cir.

2005) (similar); Blinco v. Green Tree Servicing, LLC, 366 F.3d 1249, 1251 (11th Cir. 2004)

(explaining that “one of the principal benefits of arbitration, avoiding the high costs and time

involved in judicial dispute resolution, is lost if the case proceeds in both judicial and arbitral

forums”).2

         As explained in greater detail below, all of the concerns that motivated these courts to

grant stays weigh in favor of an injunction pending appeal. Such an injunction would preserve

the status quo while the First Circuit resolves the arbitrability question. Denying an injunction,

on the other hand, would risk irreparably harming Optum’s interest in maintaining the

confidentiality of its trade secrets. It would also undermine the federal policy in favor of

     2
       In Bombardier Corp. v. Nat'l R.R. Passenger Corp., 2002 WL 31818924, at *1 (D.C. Cir. Dec. 12,
2002), the court of appeals stayed the litigation – but then dismissed the appeal because the underlying
order was not properly regarded as an order denying a motion to compel arbitration. See Bombardier
Corp. v. Nat’l R.R. Passenger Corp., 333 F.3d 250, 253 (D.C. Cir. 2003).

                                                   9
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 10 of 21



arbitration because the crux of the case might become moot before an arbitrator even has a

chance to consider the merits.

II.    AN INJUNCTION IS WARRANTED IN THIS CASE.

       The legal standard for determining whether an injunction pending appeal is warranted is

the familiar preliminary-injunction standard. A court must weigh the traditional four factors: (1)

the movant’s likelihood of success on the merits, (2) the potential for irreparable harm to the

movant if the injunction is denied, (3) the balance of hardships to each party if the injunction is

or is not granted, and (4) the effect (if any) that an injunction would have on the public interest.

Wine & Spirits Retailers, Inc. v. Rhode Island, 418 F.3d 36, 46 (1st Cir. 2005). Each applicable

factor weighs strongly in favor of granting an injunction pending appeal.

       A.      Optum Is Likely to Succeed on the Merits

       As thoroughly explained in this Court’s order denying without prejudice Smith’s motion

to compel arbitration (Dkt. # 48), the Court plainly has jurisdiction and authority to rule on

Optum’s TRO motion.

       In brief, the parties agree, as they must, that Smith’s employment contract requires the

parties to submit any “claims for unfair competition and violations of trade secrets” to binding

arbitration. Dkt. # 48 at 3. But the contract just as clearly preserves each party’s ability to

“seek[] emergency or temporary injunctive relief in a court of law” and provides that “after the

court has issued a ruling concerning the emergency or temporary injunctive relief,” the parties

are then “required to submit the dispute to arbitration pursuant to” the arbitration policy in the

contract. Dkt. # 48 at 3-4. That language is express and unambiguous – and courts are required

to give effect to the plain language of arbitration agreements. Henry Schein, Inc. v. Archer &

White Sales, Inc., 139 S. Ct. 524, 529 (2019) (reiterating that courts construing an arbitration

contract must “interpret the contract as written”).


                                                 10
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 11 of 21



        Even if the parties had signed a different agreement that did not unambiguously preserve

their right to seek temporary injunctive relief from a court, background legal principles have long

established that courts have inherent equitable power to issue a preliminary injunction to

preserve the status quo pending arbitration so that the arbitrator can provide meaningful relief if

it finds the plaintiff’s claims meritorious. See Dkt. #. 48 at 9 (collecting cases). That is true even

where an arbitration agreement expressly preserves to the arbitrator the power to grant

preliminary relief (i.e., the opposite of the situation here). The First Circuit has held that, where

preliminary relief is otherwise justified, a district court has authority in such cases to grant

interim preliminary relief just until the arbitrator is in a position to rule on the need for

preliminary relief itself. Next Step Med. Co. v. Johnson & Johnson Int’l, 619 F.3d 67, 70 (1st

Cir. 2010).

        Smith may now regret the terms of the employment contract he signed. But the contract

says what it says – and this Court correctly held that it has the power to grant interim preliminary

relief in the form of a TRO. As this Court explained, Smith’s “disagreement with the court’s

understanding of the plain meaning of the relevant language does not create an ambiguity.” Dkt.

# 48 at 6. Smith nevertheless appealed. But he will not prevail on appeal because his argument

has no basis in either the text of the arbitration agreement or any background principle governing

courts’ inherent equitable powers. In granting Smith’s motion to stay proceedings, this Court

described his appeal as “unmeritorious,” even if it was not willing to declare if “frivolous.” Dkt.

# 49 at 4 n.1. Optum therefore has an extremely high likelihood of success on the merits.

        B.      Optum Will Suffer Irreparable Harm Absent an Injunction Pending Appeal.

        Optum’s need for a TRO is manifest. Absent immediate injunctive relief, Optum will

suffer substantial irreparable harm. Its trade secrets and other confidential information will be

compromised and made available to a competitor as the result of Smith’s unfair competition and


                                                   11
         Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 12 of 21



his inevitable use of Optum’s trade secrets as he performs a job for ABC.

         As Optum briefed in its Memorandum in Support of their Motion for Temporary

Restraining Order (Dkt. # 4) and oppositions to Smith’s Motion to Stay Proceedings (Dkt. #s 44

& 47) – the factual allegations and arguments of which have borne out through affidavits and

live testimony – Smith’s continued employment with ABC poses a direct and immediate threat to

Optum’s trade secrets and other confidential information.3

         To summarize in short, Smith was a senior executive at Optum who, during his

employment, was repeatedly and extensively exposed to Optum’s trade secrets including,

without limitation, information concerning Optum’s overall corporate and product roadmaps,

corporate and product strategies and business plans, merger and acquisition targets, product

portfolio performance, and analyses concerning the same. Affidavit of Steven Wolin (“Wolin

Aff.,” Dkt. # 7), ¶¶ 10, 15; see



                                                                        Smith now works for ABC,

Optum’s Amazon-Berkshire Hathaway-JPMorgan Chase-backed competitor. In the days and

weeks leading up to Smith’s resignation, during which time he knew he would be leaving Optum

to join ABC, Smith intentionally and systemically sought out, and printed, Optum’s highly-

confidential, competitive information – including information for which he had no legitimate

business need. Wolin Aff., ¶¶ 4, 57-74.

         Notably, on October 29, 2018 at approximately 9:51am (Central Time) – on the same day

that he interviewed for ABC and just one minute before printing out his résumé – Smith printed a

highly-confidential Optum “Factbook” containing Optum’s in-depth analysis of healthcare trends


     3
      Plaintiffs hereby incorporate by reference the facts and arguments set forth in their Memorandum
in Support of their Motion for Temporary Restraining Order and oppositions to Smith’s Motion to Stay
Proceedings, as well as the affidavits of Steven Wolin and Christopher E. Andrews (Dkt. Nos. 7 & 8).


                                                  12
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 13 of 21



among consumers, employers, payers, government entities, providers, and Pharmacy Benefit

Managers (“PBMs”) and other life sciences entities. Wolin Aff., ¶¶ 67-68; see also



The Factbook also identifies Optum’s potential opportunities in, and solutions for, the changing

healthcare market. Wolin Aff., ¶ 68. As




                                                         Through the




                                                                          Optum does not know,



    4




                                               13
       Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 14 of 21



however, the extent of Smith’s disclosure.




       On another occasion, just prior to his departure, Smith requested certain of Optum’s

confidential information from several junior members on his supervisor’s (Steven Wolin) team.

Wolin Aff., ¶ 62; see also                                                           The

confidential information he requested had nothing to do with his role at Optum, and he had no

need for the information. Wolin Aff., ¶ 63; see also

                   Smith’s request made several employees so uncomfortable that they

approached Steven Wolin (“Wolin”) with their concerns. Wolin Aff., ¶ 62; see also




                                                                   Wolin discussed the issue

with Smith’s other supervisor, Nick Seddon (“Seddon”) but did not have the chance to raise it




                                               14
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 15 of 21



directly with Smith before Smith’s abrupt resignation. Wolin Aff., ¶ 65; see also



       In addition, in the days leading up to his resignation, Smith sought out and printed

highly-confidential Optum information for which he had no legitimate purpose in light of his

imminent departure. On December 6 – on the same day that he received a verbal offer from

ABC – Smith attended a highly-confidential, all-day, cross-team strategy meeting with Optum’s

senior leaders (including its CEO), which included, among other things, several deep-dive

discussions concerning Optum’s product portfolios, product development plans, capital planning

initiatives, enterprise strategies, and other specific initiatives. Wolin Aff., ¶¶ 18, 29. On

December 10 – the day before he signed his written ABC offer – Smith printed out a confidential

Optum document concerning its product portfolio performance, new product development, and

product job family and assessment plan.5 Wolin Aff., ¶ 36; see also

                               At the time he printed the OES Deck, Smith had no legitimate

business need for it. Wolin Aff., ¶ 36.




                                                 15
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 16 of 21



       Smith’s pre-departure misconduct, paired with his continual denial of any such

wrongdoing, underscores his proclivity to continue to use Optum’s trade secrets for his own

benefit and ABC’s competitive advantage absent immediate judicial relief pending appeal.

       The resulting risk to Optum is, of course, compounded by ABC’s reticence concerning its

willingness to disclose facts surrounding current and planned business activities, and its

haphazard and disingenuous approach to ensuring Smith’s compliance with his legal obligations

to Optum. As a threshold matter, ABC refuses to disclose, with any specificity, what Smith will

be doing at ABC or even what its own plans for the next year are. The following excerpt from

                        is illuminative:




                                                  With respect to Smith’s activities, ABC has

been equally unforthcoming. All Optum could glean from                             in this regard is

that Smith is working




                                                16
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 17 of 21




     This is precisely what he did for Optum.

       Without having provided Optum any meaningful understanding about what ABC is

specifically doing or plans to do in the next year – or, more specifically, what Smith is doing at

ABC or plans to do in the next year – ABC expects Optum to take ABC at its word that it will

not allow Smith to use Optum’s confidential information at ABC. See Affidavit of John

Stoddard (“Stoddard Aff.,” Dkt. # 23-2), ¶¶ 20, 22-25. To this end, ABC has cherry-picked areas

of healthcare to exclude from Smith’s scope of work (to date), including



                                                       However, ABC’s self-imposed precautions

necessarily depend on its own view of what constitutes Optum’s confidential information and,

further, entrusts Smith with self-policing.




           ; see also Stoddard Aff., ¶¶ 20-25. This is not enough.

                                every day that Smith works at ABC is another opportunity for

him to use Optum’s trade secrets and other confidential information. And the longer Smith

works at ABC, the more entrenched he becomes in the company, and the greater the risk his

employment poses to Optum. Moreover, among other things,




                                That Smith will – intentionally or unintentionally – use or




                                                17
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 18 of 21



disclose Optum’s trade secrets in the course of his collaborative work at ABC, where there are

no absolute firewalls in place, is inevitable.

        For these reasons, Optum requires an injunction preventing Smith from working at ABC

during the pendency of his appeal to the First Circuit. Without immediate judicial intervention,

it stands to lose its most sensitive competitive information comprising its trade secrets.

        C.      The Balance of Equities Favors Granting an Injunction Pending Appeal.

        Optum’s likelihood of success on the merits and irreparable harm tips the balance of

equities in its favor. And no equity concerns counsel in favor of denying an injunction pending

appeal. If an injunction is granted, Smith would simply be required to honor the agreements he

willingly entered into and for which he was substantially compensated – at least until the

arbitrator can itself rule on the propriety of interim injunctive relief.




                                                                            Because all equity concerns

point in the direction of granting an injunction, this Court should grant this Motion and enjoin

Smith from working for ABC until the expiration of his noncompete agreement.

        D.      An Injunction Pending Appeal Would Be in the Public Interest.

        Granting an injunction pending appeal would not harm the public interest; to the contrary,

it would benefit the public. The public has a strong interest in ensuring that contracts are upheld.

Here, granting an injunction pending appeal would functionally uphold Smith’s contractual

agreement not to use misappropriated information to give an unfair advantage to a competitor. It

would also serve to enforce the parties’ arbitration agreement – both by enforcing the agreement




                                                   18
           Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 19 of 21



to allow courts to rule on motions for emergency relief and by preserving the ability of the

arbitrator to award meaningful relief if it agrees that Optum has stated meritorious claims.

III.   THIS COURT SHOULD ISSUE AN INDICATIVE RULING ON THE PENDING
       MOTION FOR A TEMPORARY RESTRAINING ORDER.

       In addition to entering an injunction pending appeal – or in the alternative, if the Court

denies the request for such an injunction – the Court should issue an indicative ruling on

Optum’s motion for a TRO, pursuant to Federal Rule of Civil Procedure 62.1. Such a ruling

would permit the court of appeals to remand the case to this Court for the limited purpose of

ruling on Optum’s motion for a TRO.

       Rule 62.1 provides that, when “a timely motion is made for relief that the court lacks

authority to grant because of an appeal that has been docketed and is now pending, the court

may,” inter alia, “state either that it would grant the motion if the court of appeals remands for

that purpose or that the motion raises a substantial issue.” Fed. R. Civ. P. 62.1(a)(3). If a district

court issues such an “[i]ndicative [r]uling,” the moving party must then “promptly notify the

circuit clerk” pursuant to Federal Rule of Appellate Procedure 12.1. Fed. R. Civ. P. 62.1(b); Fed.

R. App. P. 12.1(a). “If the district court states” in an indicative ruling “that it would grant the

motion or that the motion raises a substantial issue, the court of appeals may remand for further

proceedings but retains jurisdiction unless it expressly dismisses the appeal.” Fed. R. App. P.

12.1(b).

       Rules 62.1 and 12.1 “do[] not attempt to define the circumstances in which an appeal

limits or defeats the district court’s authority to act in the face of a pending appeal.” Fed. R. Civ.

P. 62.1 advisory committee’s note on 2009 adoption; Fed. R. App. P. 12.1 advisory committee’s

note on 2009 adoption. The rules “appl[y] only when” the “complex” “rules that govern the

relationship between trial courts and appellate courts” “deprive the district court of authority to

grant relief without appellate permission.” Ibid.

                                                  19
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 20 of 21



       If this Court adheres to its view that it lacks jurisdiction to rule on Optum’s motion for a

TRO, it should issue an indicative ruling stating either that it would grant the motion if it had

jurisdiction or that the motion for a TRO raises substantial issues, and explaining why it makes

sense to decide the motion now, before Smith’s appeal is resolved. The requirements for an

indicative motion are easily satisfied here. Optum’s motion for a TRO was undoubtedly timely

as it was filed on the same day as the Complaint. The instant motion is similarly timely as it is

being filed one day after the Court’s ruling that it lacks jurisdiction to decide the motion for a

TRO. And, for the reasons set out in both the memorandum in support of the motion for a TRO

and the hearing on that motion, this Court should grant the motion. If this Court prefers to take

additional evidence on the motion for a TRO, the Court may state that the motion raises

substantial issues and hear such additional evidence if the court of appeals grants a limited

remand.

       An indicative ruling is appropriate in this case because, as explained supra in support of

the request for an injunction pending appeal, allowing Smith’s appeal to proceed to resolution in

the absence of any interim temporary relief would cause irreparable injury to Optum. In

addition, because this Court has already heard evidence on the motion, it would be most efficient

for this Court to rule on the motion in the first instance.

                                           CONCLUSION

       In light of the foregoing, Optum respectfully requests that this Court allow its Motion for an

Injunction Pending Appeal and/or an Indicative Ruling on the Pending Motion for a Temporary

Restraining Order, and enter the order attached thereto as Exhibit 1.




                                                  20
        Case 1:19-cv-10101-MLW Document 58 Filed 02/06/19 Page 21 of 21



                                                         Respectfully submitted,

                                                         OPTUM, INC. and
                                                         OPTUM SERVICES, INC.,

                                                         By their attorneys,

                                                         /s/ Russell Beck
                                                         Russell Beck, BBO No. 561031
                                                         Stephen D. Riden, BBO No. 644451
                                                         Hannah Joseph, BBO No. 688132
                                                         Beck Reed Riden LLP
                                                         155 Federal Street, Suite 1302
                                                         Boston, Massachusetts 02110
                                                         617.500.8660 Telephone
                                                         617.500.8665 Facsimile
                                                         rbeck@beckreed.com
                                                         sriden@beckreed.com
                                                         hjoseph@beckreed.com
       Dated: February 6, 2019




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the CM/ECF system on
February 6, 2019, and will be served electronically to the registered participants as identified on
the Notice of Electronic Filing through the Court’s transmission facilities, and that non-
registered participants have been served this day by mail.

                                                          /s/ Russell Beck




                                                 21
